       Case 3:23-cv-01367-KAD Document 41 Filed 09/18/24 Page 1 of 1


               United States District Court for the District of Connecticut

                3:23-cv-01367-KAD
Case Number:
                --------------
                                                                                                         SIE P 18 2024 PM3: 18
McCullough, Stephen C.                                                                                 FILED-U~DC-CT -HAF.:TFiJPD

List the full name(s) of the plaintif.f(s)/petitioners(s)

                   V.                                                   NOTICE OF APPEAL
Town of Rocky Hill


List the full namets) of the defendant(s)lrespondent(s)



N o t.ice 1s
          . hereby given
                    .    tha t Plaintiff Stephen C. McCullough                                    _ 1-n the above-
                                   "List the names ofall parties who are filing an appeal

named case, hereby appeal to the United States Court of Appeals for the Second Circuit from the


D final judgment entered in this action on                              _
                                                       Date Entered

                        OR
l:t1'
U!J order #( __
             40 ) entere d mt
                           . h.1s action
                                     . on_________
                                         08/19/24  d escn.b e d as:
                                                       Date Entered
Order on Motion for Attorey Fees
$2669.50 for defendant




(Provide a brief description of the decision in the order/ju

09/18/24

           Date
McCullough, Stephen, C
                                             Name (Last, First, MI)
 140 Hayes Rd, Rocky Hill, CT 06067

         Address                                    City                        State
860 478 5024                                                   steviemcc!@yahoo.com

                    Telephone                                               E-mail Address (if available)
*See Rule 3(c) for permissible ways of identifying appellants. Attach additional pages as necessary.
Note to inmate filers: Ifyou are an inmate confined in an institution and you seek the timing benefit of Fed. R. App.
P. 4 (c)(l), complete Form 7 (declaration of Inmate Filing) and file that declaration along with this Notice ofAppeal.

                                                                                                    Rev. 11-16-22
